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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF KENTUCKY

LEXINGTON DIVISION
Chapter 11
Case No. 10-53593
In re:
POST-CONFIRMATION REPORT
JBB LIQUIDATING 2011 INC.,,
(i/k/a JB BOOKSELLERS, INC,), e7. ai, xX __ QUARTERLY FINAL

Debtors.! QUARTER ENDING: March 31, 2012

DATE PLAN CONFIRMED: August 24, 2011

ALL DISBURSEMENTS MADE BY THE REORGANIZED DEBTOR OR OTHER
RESPONSIBLE PARTY EITHER UNDER THE PLAN OR OTHERWISE, MUST BE
ACCOUNTED FOR AND REPORTED FOR THE PURPOSE OF CALCULATING THE
QUARTERLY FEE.

SUMMARY OF DISBURSEMENTS MADE THIS QUARTER:

Disbursements made under the plan by the Liquidating Trustee: $ 188,740.81
Disbursements made other than under the plan by the Liquidating Trustee: $ 0.00
Total Disbursements: $ 188,740.81

' The Debtors in these chapter 11 cases, along with the last four digits of each debtor's federal tax identification
number, were: JBB Liquidating 2011 Inc. (f/k/a JB Booksellers, Inc.) (5130); JBB Liquidating 2011 LLC G/k/a
Joseph-Beth Booksellers, LLC) (6343); and JBC Liquidating 2011 LLC (i/k/a Joseph-Beth Café, LLC) (5705).
The corporate headquarters address of these Debtors is 1727 Riverside Drive, Cincinnati, OH 45202.
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I CERTIFY UNDER THE PENALTY OF PERJURY THAT THE ABOVE
INFORMATION REGARDING DISBURSEMENTS MADE BY THE LIQUIDATING
TRUSTEE IS TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE,

SIGNED: te HL WGC. DATE: _ 7/7 § foo. 2

“Steven A. San Filippo, as Naya} ajing Trustee

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CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing was served electronically
on April 18, 2012 to all parties receiving notice by this Court’s CM/ECF system in this case.

/s/ Adam R. Keeley

